      Case: 5:20-cv-00663-SL Doc #: 31 Filed: 11/30/20 1 of 2. PageID #: 170




                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

SUSAN K. LINDSLEY, ​et al​.,                )       Case No. 5:20-CV-00663
                                            )
       Plaintiffs,                          )       JUDGE:         SARA LIOI
                                            )
                                            )       MAGISTRATE JUDGE:
                                            )       KATHLEEN B. BURKE
               vs.                          )
                                            )       Notice Regarding the Representation of
                                            )       Plaintiff Susan K. Lindsley’s
                                            )       Minor Children,, G.M. and R.M.
SPRINGFIELD TOWNSHIP, ​et al.​,             )
                                            )
       Defendants.                          )
                                            )

       Now comes Plaintiff, Susan K. Lindsley, by and through counsel, and does hereby

respectfully address this Honorable Court’s November 17, 2020 Order (ECF # 27) regarding the

representation of Plaintiff Susan Lindsley’s two minor children, G.M. and R.M.

       Attorney Paul Kelley was originally listed as co-counsel for Plaintiff Lindsley’s minor

children. Mr. Kelley was not admitted to practice in the Northern District of Ohio and was

therefore ordered to either get admitted to the Northern District or to file a Motion for pro hac

vice (See, ECF #27). Mr. Kelley has not been admitted to the Northern District and has not filed

a pro hac vice motion. Therefore, undersigned counsel will continue in his representation of

Plaintiff Susan K. Lindsley’s minor children, G.M. and R.M.          All notices, pleadings and

correspondence regarding minor Plaintiffs G.M. and R.M. should be directed to undersigned

counsel.
       Case: 5:20-cv-00663-SL Doc #: 31 Filed: 11/30/20 2 of 2. PageID #: 171




                                             Respectfully submitted,


                                             _​/s/ ​Paul J. Cristallo_​ _______________
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                                             Counsel for Plaintiffs Susan K. Lindsley
                                             and Minors G.M. and R.M..




                              CERTIFICATE OF SERVICE

I certify that on this 30th day of November, 2020 the foregoing Notice Regarding the

Representation of Plaintiff Susan K. Lindsley’s Minor Children, G.M. and R.M. was filed

electronically. Notice of this filing will be sent to all parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.



                                             /s/ Paul J. Cristallo            ​.
                                             PAUL J. CRISTALLO (0061820)
                                             Counsel for Plaintiffs Susan K. Lindsley and
                                             Minors G.M and R.M.




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